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                       IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


ROSLYN BROWN, et al.,                               )
                                                    )
               Plaintiffs,                          )
                                                    )
       v.                                           )    Case No. 4:17-cv-1542-ERW
                                                    )
CITY OF PINE LAWN, MISSOURI, et al.,                )
                                                    )
               Defendants.                          )


                     SECOND CONSENT MOTION FOR EXTENSION

       COME NOW Plaintiffs Roslyn Brown and R.Z. a minor, by Consent of Defendants, and

for their Motion for Extension, state as follows:

       1. On April 25, 2019 this Court issued an Order (ECF No. 110) extending the time by

            which Plaintiff should submit a proposed consent judgment to the Court.

       2. Since that time, Ms. Brown and her counsel have nearly resolved the Medicare lien

            that still exists related to Ms. Brown’s claims. Although Ms. Brown has received a

            “Conditional Payment Claim,” she has not yet resolved a “Final Claim” that will

            enable her to fully pay any outstanding Medicare payments she owes.

       3. Ms. Brown has also met with financial planners in order to confirm that the funds of

            her daughter, Plaintiff R.Z., will appropriately be cared for when the settlement funds

            are dispersed.
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       4. Ms. Brown and her counsel are optimistic that within 45 days Medicare will finalize

          any outstanding lien, enabling her to finalize settlement in the case.

       5. Plaintiffs request an extension of 45 days, until Friday, August 9, 2019, by which to

          file their stipulation for dismissal, motion for leave to voluntarily dismiss, or proposed

          consent judgment.

       6. Defendant’s counsel has consented to the filing of this document.

       WHEREFORE, Plaintiffs request this Honorable Court grant their Motion for Extension.

Respectfully Submitted,

                                             ARCHCITY DEFENDERS


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